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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RICHARD PITTMAN,

      Defendant.                                     Case No. 05-CR-30133-DRH

                                     ORDER

HERNDON, District Judge:


            Now before this Court is defendant Richard Pittman’s second Motion for

Temporary Custody Transfer From Perry County Jail. (Doc. 214.) It appears the

concerns defendant Pittman voiced in his first Motion are ongoing. However, the

Court again must DENY Defendant’s Motion (Doc. 214), as it is within the discretion

of the U.S. Marshall’s Office to determine how best to detain Defendant.

            IT IS SO ORDERED.

            Signed this 25th day of August, 2006.


                                                    /s/      David RHerndon
                                                    United States District Judge
